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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    MexTex Operating Company

2.    All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          2      0      –      3      1        3    6         4   7     6

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       c/o Mark Wiggins, President
                                       Number         Street                                           Number     Street
                                       3904 Lago Vista Dr.
                                                                                                       P.O. Box



                                       Austin                              TX       78734
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Travis                                                          from principal place of business
                                       County

                                                                                                       Various counties in Texas
                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor MexTex Operating Company                                                            Case number (if known)

7.    Describe debtor's business        A. Check one:

                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                        B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in
                                             15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes

                                              2      1      3      1

8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
      A debtor who is a "small               Chapter 11. Check all that apply:
      business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      defined in § 1182(1) who elects                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
      the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
      debtor") must check the second
      sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                                OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                                sheet, statement of operations, cash-flow statement, and federal income tax
                                                                return, or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                                Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                                form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                Rule 12b-2.

                                             Chapter 12




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor MexTex Operating Company                                                            Case number (if known)

9.    Were prior bankruptcy                  No
      cases filed by or against
      the debtor within the last 8           Yes. District                                        When                    Case number
      years?                                                                                             MM / DD / YYYY

                                                  District                                        When                    Case number
      If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
      separate list.
                                                  District                                        When                    Case number
                                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                    District                                                    When
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                       Case number, if known


                                                    Debtor                                                      Relationship

                                                    District                                                    When
                                                                                                                               MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in            Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                             days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                             any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                             district.


12. Does the debtor own or                   No
    have possession of any                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                     needed.
    property that needs
                                                  Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                       related assets or other options).

                                                       Other


                                                  Where is the property?
                                                                                Number      Street




                                                                                City                                      State        ZIP Code

                                                  Is the property insured?

                                                       No
                                                       Yes. Insurance agency

                                                                Contact name

                                                                Phone




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Debtor MexTex Operating Company                                                          Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                     1-49                               1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                         50,001-100,000
                                            100-199                            10,001-25,000                        More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/07/2020
                                                      MM / DD / YYYY



                                          X /s/ Mark Wiggins
                                              Signature of authorized representative of debtor
                                              Mark Wiggins
                                              Printed name
                                              President and CEO
                                              Title




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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Debtor MexTex Operating Company                                           Case number (if known)

18. Signature of attorney     X /s/ Thomas Rice                                               Date   07/07/2020
                                  Signature of attorney for debtor                                   MM / DD / YYYY

                                  Thomas Rice
                                  Printed name
                                  Pulman, Cappuccio & Pullen, LLP
                                  Firm name
                                  2161 NW Military Highway
                                  Number          Street
                                  Suite 400

                                  San Antonio                                         TX              78213
                                  City                                                State           ZIP Code


                                  (210) 222-9494                                      trice@pulmanlaw.com
                                  Contact phone                                       Email address
                                  24025613                                            TX
                                  Bar number                                          State




Official Form 201             Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 5
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 Fill in this information to identify the case:
 Debtor name        MexTex Operating Company

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                                Check if this is an
 (if known)                                                                                                                 amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                            12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and             Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                 number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip           address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                             creditor              professional          unliquidated,   secured, fill in total claim amount and
                                  contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                        government                            calculate unsecured claim.
                                                        contracts)
                                                                                              Total           Deduction       Unsecured
                                                                                              claim, if       for value       claim
                                                                                              partially       of
                                                                                              secured         collateral
                                                                                                              or setoff
1    Integrity Services                                 Trade                 Disputed                                         $1,084,610.90
     PO Box 5989
     Midland, TX 79704




2    Schlumberger                                                             Disputed                                           $835,000.85
     PO Box 732149
     Dallas, TX 75373-2149




3    Gyrodata Incorporated                              Trade                 Disputed                                           $528,772.50
     23000 Northwest Lake
     Drive
     Houston, TX 77095



4    Premier Pipe, LLC                                                        Disputed                                           $368,905.27
     PO Box 840306
     Dallas, TX 75284-006




5    Valence Drilling Fluids,                                                 Disputed                                           $204,714.83
     LP
     PO Box 20007
     Oklahoma City, OK
     73156-0007




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 1
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Debtor       MexTex Operating Company                                             Case number (if known)
             Name


 Name of creditor and             Name, telephone     Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                 number, and email   (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip           address of          debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                             creditor            professional          unliquidated,   secured, fill in total claim amount and
                                  contact             services, and         or disputed     deduction for value of collateral or setoff to
                                                      government                            calculate unsecured claim.
                                                      contracts)
                                                                                            Total           Deduction       Unsecured
                                                                                            claim, if       for value       claim
                                                                                            partially       of
                                                                                            secured         collateral
                                                                                                            or setoff
6   Applied US Energy, Inc.                                                 Disputed                                           $195,873.22
    22510 Network Place
    Chicago, IL 60673-1225




7   Concho Services, LLC                                                    Disputed                                           $185,741.75
    PO Box 517
    Eden, TX 76837




8   Nibletts Oilfield Services,                                             Disputed                                           $154,497.14
    Inc.
    PO Box 910
    Eldorado, TX 76936



9   Wellhead Specialties                                                    Disputed                                           $151,679.88
    Equipment
    PO Box 69498
    Odessa, TX 79769



10 Simbro Construction, LLC                                                 Disputed                                           $140,153.53
   2125 KC 25
   Junction, TX 76849




11 H&S Rental Services                                                      Disputed                                           $126,956.11
   PO Box 62582
   San Angelo, TX 76906




12 New Tech Global                                                          Disputed                                           $120,000.00
   Ventures, LLC
   PO Box 474 MSC 800
   Houston, TX 77210



13 Yellow Jacket Oilfield                                                   Disputed                                           $118,793.52
   Services, LLC
   PO Box 841516
   Dallas, TX 75284-1396




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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Debtor       MexTex Operating Company                                           Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 Trend Services, Inc                                                    Disputed                                           $100,338.44
   PO Box 747
   Broussard, LA 70518




15 Adams Pumping                                    Trade                 Disputed                                             $86,500.00
   PO Box 653
   Junction, TX 76849




16 Surgitech, Inc                                                         Disputed                                             $82,672.47
   PO Box 941811
   Houston, TX 77094




17 Buffalo Head Energy                                                    Disputed                                             $71,574.64
   Services
   15905 Waverly Dr
   Houston, TX 77032



18 CWCLP                                                                  Disputed                                             $66,629.00
   6243 Wilers Way
   Houston, TX 77057




19 DM Glover, Inc.                                                        Disputed                                             $59,379.37
   PO Box 948
   Ozona, TX 76943-0948




20 Pason Systems USA                                                      Disputed                                             $58,029.18
   Corp
   16100 Table Mountain
   Parkway, Ste 100
   Golden, CO 80403




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   MexTex Operating Company                                               CASE NO

                                                                                 CHAPTER      11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/7/2020                                           Signature    /s/ Mark Wiggins
                                                                    Mark Wiggins
                                                                    President and CEO




Date                                                    Signature
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 Debtor(s): MexTex Operating Company     Case No:                                WESTERN DISTRICT OF TEXAS
                                          Chapter: 11                                       AUSTIN DIVISION


AAA Testers, Inc                       Buffalo Head Energy Services     Distribution Now
PO Box 807                             15905 Waverly Dr                 PO Box 200822
Big Lake, TX 76932                     Houston, TX 77032                Dallas, TX 75320



Abilene Well                           Butch's Rat Hole & Anchor Service,
                                                                        DMInc.
                                                                           Glover, Inc.
PO Box 5969                            PO Box 1323                      PO Box 948
Abilene, TX 79609                      Levelland, TX 79336-1323         Ozona, TX 76943-0948



Adams Pumping                          Can-Doo Budget Rental Inc.       Drilling Tools Sales & Rentals
PO Box 653                             301 Goliad Dr.                   280 E. Valencia St.
Junction, TX 76849                     Abilene, TX 79601                Odessa, TX 79766



Anderson Perforating Serivces, LLC
                                 Compass Cementing                      Dustin Stapp
PO Box 2037                      PO Box 677781                          18005 N. RR 1674
Albany, TX 76430                 Dallas, TX 75267-7781                  Junction, TX 76849



Applied US Energy, Inc.                Concho Services, LLC             Elba Adams- Location Damages/Caliche
22510 Network Place                    PO Box 517                       PO Box 392
Chicago, IL 60673-1225                 Eden, TX 76837                   Junction, TX 76849



Attorney General of US                 Crowder Services, Inc            Express Energy Services
US Dept of Justice                     PO Box 1056                      PO Box 843971
950 Pennsylvania Ave,NW                Eldorado, TX 76936               Dallas, TX 75284
Washington, DC 20530-0001


B&R Downhole & Anchor Serivce, Inc.
                                 CWCLP                                  Fesco, LTD
PO Box 69576                     6243 Wilers Way                        1000 Fesco Ave
Odessa, TX 79769                 Houston, TX 77057                      Alice, TX 78332



Baird Hotshot                          David Love Welding               FGFP, LLC
2217 Lynn St.                          PO Box 112                       3904 Lago Vista Dr.
Pampa, TX 79065                        Sonora, TX 76950                 Austin, TX 78734



Basic Energy Services                  DC Compression                   Flying A Pumping Services, LLC
PO Box 841903                          PO Box 62300                     PO Box 2123
Dallas, TX 75284-1903                  San Angelo, TX 76906             Albany, TX 76430



Bronco Oilfield Services               Devin Ace Stewart                Grider Trucking Co, Inc
PO Box 203379                          42 Hickory Street                PO Box 304
Dallas, TX 75300-3379                  Junction, TX 76849               Sonora, TX 76950
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 Debtor(s): MexTex Operating Company     Case No:                             WESTERN DISTRICT OF TEXAS
                                          Chapter: 11                                    AUSTIN DIVISION


Gyrodata Incorporated                  Jett Electric Company, Inc.   New Tech Global Ventures, LLC
23000 Northwest Lake Drive             926 Jody Lane                 PO Box 474 MSC 800
Houston, TX 77095                      San Angelo, TX 76904          Houston, TX 77210



Gyrodata Incorporated                  JMC Transport Service, LLC    Nibletts Oilfield Services, Inc.
c/o Dore ROthberg McKay, PC            PO Box 696                    PO Box 910
Attn: Will Rutledge, Esq.              Sonora, TX 76950              Eldorado, TX 76936
17171 Park Row, Suite 160
Houston, TX 77084

H&S Rental Services                    JMR Services, LLC             Pason Systems USA Corp
PO Box 62582                           PO Box 80730                  16100 Table Mountain Parkway, Ste 100
San Angelo, TX 76906                   Mildand, TX 79708-0730        Golden, CO 80403



Hulk Oilfield Serivces                 KE Andrews                    Patin Oil & Gas Company
PO Box 906                             1900 Dalrock Rd.              2426 Watts Street
Monahans, TX 79756                     Rowlett, TX 75088             Houston, TX 77030



Integrity Services                     Kimble County Tax A/C         Pedernales Electric
PO Box 5989                            P.O. Box 307                  PO Box 1
Midland, TX 79704                      Junction, TX 76849            Johnson City, TX 78636



Integrity Services, LLC                Knight Oil Tools              Petrolift Systems, Inc.
c/o Greenberg Traurig, LLP             PO Box 52688                  PO box 116
Attn: Cara Kelly, Esq.                 Lafayette, LA 70505-2688      Seminole, TX 79360
300 W. 6th St., Suite 2050
Austin, TX 78701

Internal Revenue Service               Liberty Bit Service, Inc.     Petrophysical Solutions Inc.
Centralized Insolvency Office          PO Box 69709                  1500 City West Blvd. Ste 420
P.O. Box 7346                          Odessa, TX 79769              Houston, TX 77042
Philadelphia, PA 19101-7346


Jacam Chemicals 2013, LLC              Margaret Hooton               Pioneer Truck Lines
PO Box 96                              3433 Bryn Mawr                2800 Post Oak Blvd. Suite 4100
Sterling, TX 67579                     Dallas, TX 75225              Houston, TX 77056



Jet Specialty, Inc.                    MexTex Contract Fee Due       Premier Pipe, LLC
PO Box 678286                          3904 Lago Vista Dr.           PO Box 840306
Dallas, TX 75267-8286                  Austin, TX 78734              Dallas, TX 75284-006



Jet Specialty, Inc.                    MSI Inspections               Pro Welding, LLC
c/o Morgan Leeton, PC                  PO Box 6183                   2421 W. 49th Street
Attn: Michael T. Morgan, Esq.          Edmond, OK 73083              Odessa, TX 79764
400 W. Illinois, Suite 120
Midland, TX 79701
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 Debtor(s): MexTex Operating Company     Case No:                                   WESTERN DISTRICT OF TEXAS
                                          Chapter: 11                                          AUSTIN DIVISION


Quail Tools                            Spartan Flow Contronl Serivces, LLC
                                                                        US Attorney's Office
PO Box 10739                           511 Corgey Rd                    Attn: Bankruptcy Div.
New Iberia, LA 70562-0739              Pleasanton, TX 78064             601 NW Loop 410 #600
                                                                        San Antonio, TX 78216


Richards Hot Oil & Lease Service Surgitech, Inc                            Valence Drilling Fluids, LP
PO Box 816                       PO Box 941811                             PO Box 20007
Giddings, TX 78942               Houston, TX 77094                         Oklahoma City, OK 73156-0007



Rocking R Investments, Inc.            Texas Railroad Commission           Wavefront Technology Solutions USA, In
c/o H. Rugeley Ferguson, Jr.           Attn: Legal                         5621-70 Street
8615 N. New Braunfels Ave.             P.O. Box 12967                      Edmonton, Alberata , CA T6B 3P6
San Antonio, TX 78217                  Austin, TX 78711


Ruff Equipment                         Thomas Alonzo                       Weaver Production Testing
PO Box 130400                          308 S. 7th Street                   PO Box 473
The Woodlands, TX 77393                Junction, TX 76849                  Sonora, TX 76950



Schlumberger                           Thru Tubing Solutions               Wellhead Specialties Equipment
PO Box 732149                          PO Box 203379                       PO Box 69498
Dallas, TX 75373-2149                  Dallas, TX 75320                    Odessa, TX 79769



SDS Petroleum Consultants, LLC         Tracer Supply Company, Inc          Yellow Jacket Oilfield Services, LLC
PO Box 456                             PO Box 3732                         PO Box 841516
Troup, TX 75789                        San Angelo, TX 76902                Dallas, TX 75284-1396



Shane Adams                            Trend Comm, Inc.
PO BoX 653                             PO Box 747
Junction, TX 76849                     Broussard, LA 70518



Shirley Shroyer                        Trend Services, Inc
2910 Goliad Street                     PO Box 747
Big Springs, TX 79720                  Broussard, LA 70518



Simbro Construction, LLC               Ulterra Drilling Technologies, LP
2125 KC 25                             PO Box 650092
Junction, TX 76849                     Dallas, TX 75265-0092



Southwest Digger & Anchor Services
                                 United States Trustee
PO Box 756                       615 E. Houston, Suite 533
Sonora, TX 76950                 San Antonio, TX 78205
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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                    AUSTIN DIVISION
    IN RE:                                                                         CHAPTER       11
    MexTex Operating Company



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 FGFP, LLC                                                                                                               50% shareholder
 3904 Lago Vista Dr.
 Austin, TX 78734

 Margaret Hooton                                                                                                         50% shareholder
 3433 Bryn Mawr
 Dallas, TX 75225

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                  President and CEO                        of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       7/7/2020
Date:__________________________________                            /s/ Mark Wiggins
                                                        Signature:________________________________________________________
                                                                   Mark Wiggins
                                                                   President and CEO
